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AO 91 (Rev. 11 /II ) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Middle District of Florida

                  United States of America                              )
                                 v.                                     )
                 TAMMY MARIE STEFFEN
                                                                        )
                                                                        )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)


                                                   CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best ofmy knowledge and belief.
On or about the date(s) of                November 2016 to June 2018           in the county of                Pasco          in the
        Middle          District of              Florida            , the defendant(s) violated:

             Code Section                                                         Offense Description
18 U.S.C. § 2261A(2)(B)                           Cyberstalking
18 U.S.C. § 875(c)                                Interstate threats




          This criminal complaint is based on these facts:
See Attached Affidavit




          ~ Continued on the attached sheet.




                                                                                          Steven Thames, Special Agent, FBI
                                                                                                   P rinted name and title

Sworn to before me and signed in my presence.


Date:


City and state:                            Tampa, Florida
                                                                                cf \;{,,;,_~ ~
                                                                                        JULIES. SNEED, U.S. Magistrate Judge
                                                                                                   Printed name and title
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                   AFFIDAVIT IN SUPPORT OF COMPLAINT
       I, Steven Thames, a Special Agent with the Federal Bureau of Investigation

(FBI), being first duly sworn, hereby depose and state as follows:

                                  INTRODUCTION

       I.    I am a Special Agent with the FBI, and have been since August 2016. I

attended training at the FBI Academy in Quantico, Virginia, for 21 weeks. I was

previously assigned to the FBI-Tampa Field Office's Violent Crime Squad. I have

received specialized training in enforcing laws related to violent crimes, including

crimes committed while utilizing electronic devices, such as computers, cellular

telephones, and tablets. As a Special Agent, I have investigated and participated in

numerous investigations and in the execution of arrest and search warrants.

      2.     This affidavit is being submitted for the limited purpose of securing a

criminal complaint. It contains information both personally known to me as well as

information I have received from other law enforcement officers, and my

conversations with state and federal law enforcement officers . I have not included

each and every fact known to me concerning this investigation. I have only set forth

the facts that I believe are necessary to establish probable cause to believe that

Tammy Marie Steffen ("STEFFEN") has committed violations of 18 U.S.C.

§ 2261A(2)(B) (Cyberstalking); and 18 U.S.C. § 875(c) (Interstate Threats).
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                             STATUTORY AUTHORITY

       3.     Title 18, United States Code, section 2261A(2)(B) prohibits a person

from acting "with the intent to kill, injure, harass, intimidate, or place under

surveillance with intent to kill, inure, harass, or intimidate another person, uses the

mail, any interactive computer service or electronic communication service or

electronic communication system of interstate commerce, or any other facility of

interstate or foreign commerce to engage in a course of conduct that causes, attempts

to cause, or would reasonably be expected to cause substantial emotional distress to a

person."

       4.     Title 18, United States Code, section 875(c), prohibits a person from

"transmit[ing] in interstate or foreign commerce any communication containing any

threat to kidnap any person or any threat to injure the person of another."

                                  PROBABLE CAUSE

       Summary

       5.     STEFFEN is an owner of a personal training business and serves as a

certified fitness trainer, coach, and fitness/ sport nutrition specialist. She specializes

in training and preparing female competitors for fitness competitions in and outside

the state of Florida. Beginning on an unknown date, but no later than in or about

August 2016, and continuing to the present, STEFFEN engaged in a course of

conduct with the intent to harass or intimidate her victims. Specifically, STEFFEN

cyberstalked, harassed, and threatened several of her former colleagues and

associates through repeated emails, phone calls, text messages, and social media
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messages from numerous phone numbers and accounts, which were transmitted in

and affected interstate commerce.

      The Investigation

      6.     In or around November 2016, the Eau Claire Police Department in

Wisconsin received a complaint from Victim- I, who is a Wisconsin resident, that

Victims-I, 2, and 3 had been the targets of a campaign of online and telephonic

harassment and threats by STEFFEN, who is a resident of Pasco County, Florida.

Victims-2 and 3 are Michigan residents. Due to the interstate nature of the

harassment and threats, the Eau Claire Police Department requested the assistance of

FBI-Milwaukee.

      7.     In or around August 2017, FBI-Milwaukee transferred the investigation

into STEFFEN to FBI-Tampa. The investigation revealed that STEFFEN had also

cyberstalked, harassed, and threatened Victims-4 and 5, whom are Florida residents,

via social media, email, and telephone.

      8.      On or about January 24, 2018, I obtained three federal search warrants

for approximately 89 Instagram accounts believed to be used by STEFFEN to stalk,

harass, and/or threaten victims of this investigation. A review of the Instagram

accounts revealed that at least 50 of these accounts are associated with an IP address

assigned to STEFFEN's Pasco County residence. Additionally, many of the

Instagram accounts are associated with an IP address assigned to STEFFEN's place

of employment, as well as her parents' home in Pasco County.



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      9.        To date, the FBI has identified at least 369 Instagram accounts and 18

email accounts that STEFFEN used to cyberstalk and harass Victims-I, 2, 3, 4, and 5

       Victim-1

      10.       Victim-I began receiving harassing and threatening messages on

Instagram in or around November 2016. As ofMay 2018, Victim-I has received

harassing and threatening messages from approximately 73 Instagram accounts. The

messages include threats to Victim-I's life, threats to the lives of others connected to

Victim-I, and attempts to discredit Victim-I professionally, among other content.

The following messages are a sample of the messages STEFFEN sent to Victim-I

from various Instagram accounts associated with STEFFEN's IP address:

      March 22, 2017

      "gncfitnessgroup": ""[Victim's I Instagram Name] tick tock bitch tick tock."

      June 14, 2017

      "melodywadel 991 ": "Our time will come."

      11.       Victim-I also received the following messages from anonymous

fictitious Instagram accounts believed to be used and/ or controlled by STEFFEN.

      January 4, 2017

      "kathybut1236": "Let's talk about your little boy." 1

      January 30, 2017

      "rain5699": "Let me give you a little information. he [sic] last girl I had fun
      with like this lasted for over two years and just ended since I have a new

      1
          Victim-I has children and felt that this post was a direct threat to one ofVictim-1's sons.
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        gamer. You can't touch me nor do anything to stop me. I know the laws and
        have been here many times before you. So let's play."

        Victim-2

        12.     Victim-2 began receiving repeated, harassing, and threatening emails

and messages on Instagram in or around August 2016. For example, on or about

August 12, 2016, Victim-2 received an email from "cristismith@gmail.com" that

stated, "We are at war. You against me." Victim-2 did not know anyone by the

name of Cristi Smith. According to records obtained from Google, the

"cristismith@gmail.com" email account was created on or about August 12, 2016,

from an IP address assigned to the New Port Richie, Florida, area, where STEFFEN

lived at the time.

        13.     Victim-2 began receiving numerous repeated and harassing telephone

calls that "spoofed"2 the identification of the caller in our around November 2016.

When Victim-2 answered these calls, Victim-2 heard a beeping sound and then the

call disconnected. Victim-2 downloaded and installed an application on her phone

that traced "spoofed" calls. On or about November 23, 2016, Victim-2 received a call

from a number purporting to be Victim-3. After Victim-2 rejected the call, the app

identified the caller as "J. Steffen," with telephone number XXX-XXX-3899. A

review of law enforcement databases revealed that the telephone number was

associated with the "J.Steffen," STEFFEN's then husband.


        2
          Spoofing is the practice of causing a telephone network to indicate to the receiver of a call
that the originator of the call is a phone number other than the true number.


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       14.     As of May 25, 2018, Victim-2 has received harassing and threatening

messages from at least 30 different Instagram accounts that were used and/ or

controlled by STEFFEN. Victim-2 received at least 30 emails from STEFFEN's

known email address, "tammy.steffenl l@gmail.com," and dozens of telephone calls

from STEFFEN using voice-disguising software and "spoofed" phone numbers. The

messages include threats to Victim-2's life, threats to the lives of others associated

with Victim-2, and attempts to discredit Victim-2's professional reputation, among

other content. Victim-2's parents and significant other also received "spoofed" phone

calls. In addition, Victim-2's gym began receiving threatening phone calls in

December 2016.

       Victim-3

       15.     Victim-3 began receiving repeated, harassing and threatening messages

from numerous Instagram accounts in or around November 2016. Victim-3 received

messages from approximately 18 Instagram accounts, which, based upon my review

oflnstagram records appeared to be used and/or controlled by STEFFEN. Victim-3

has also received at least 21 harassing emails, some of which are from STEFFEN's

known email address, "tammy.steffenll@gmail.com," and some of which are

unidentified. The messages include threats to Victim-3's life, threats to the lives of

others connected to Victim-3, and attempts to discredit her professionally, among

other content. The following messages are a sample of the messages STEFFEN sent

to Victim-3:

      January II, 2017

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      "Mlee45l84@gmail.com": "All hell is gonna rain fire down on your world
      like never seen before. You have picked the wrong person to mess with. You
      have no idea what you've done. I will be catching the next flight to Michigan
      out of here."

       January 11, 2017

      "maria.santos333": Tagged Victim-3 in a picture that showed a female
      holding two knives and is captioned ul'm coming."

       Victim-4

       16.      Victim-4 began receiving harassing messages from a fake social media

account in or around January 2017. Victim-4 confronted STEFFEN about the

messages and STEFFEN admitted that she had sent the messages. In or around

August 2017, Victim-4 reported to the Tampa Police Department that STEFFEN

had been engaging in a campaign of online harassment and threats against Victim-4

and that STEFFEN had been harassing and threatening others while impersonating

Victim-4. In or around July 2018, Pasco County Sheriff's Office arrested STEFFEN

after she faked a kidnapping attempt on her 12-year-old daughter in an effort to

frame Victim-4 for the kidnapping. 3

       Victim-5

       17.      Victim-5 began receiving harassing and threatening telephone calls and

messages on Instagram in or around January 2017. Victim-5 discussed the messages

with STEFFEN and STEFFEN claimed that Victim-4 was the person sending the


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          STEFFEN pleaded guilty to the state court charges on or about October 18, 2018. State of
F1orida v. Tammy Marie Steffen, 2018CF004304CFAXWS.


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messages. In or around July 2017, however, STEFFEN admitted to Victim-5 that she

had been the person sending the messages. As of June 2018, Victim-5 has received

approximately 327 Instagram messages, 129 emails from STEFFEN's known

personal email accounts, "tammy.steffenl l@gmail.com" and

"beyondfit@yahoo.com," and 19 messages to Victim-S's business website of a

harassing nature. The following messages are a sample of the messages STEFFEN

sent to Victim-5 from various Instagram accounts associated with STEFFEN's IP

address:

      December 29, 2017

      "oneanddonel234": "Time is up! You will reap Everything you have coming.
      I warned YOU. My full time job. Never try to contact me to settle this. That
      has passed. I am only sorry for all in your life. Let it spread like a wild fire.
      Bye bitch. Even when you beg will I show no mercy. Silence now but you will
      see my signature on each and every event."

      August IO, 2017

      "kylefrancis22": "Time for it to get really dirty."

      October 25, 2017

      "lovethegametowin": "This is a forever thing. You and I. I never give up."

      January 6, 2018

      "whydoitellyou": "I tell you so you know exactly where it came from. You
      could have helped your friends. You decided not to. You could have ended
      this a long time ago. You made all the wrong decisions. You will pay through
      watching those you care about pay. You will feel the pain you put me
      through. Checkmate you lost."

      May 29, 2018


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      "looksgoodbooboo": a photo with the caption, "{KB] Hope you die."

      September 26. 2017

      "fitlifeannual": "Of course we can. I just placed an order to rollout. Nothing
      left to lose. Time to act. Shit or full car destruction haven't decided. I'm
      thinking a nice pile of human shit to begin with. Did you know you can defalt
      [sic] put dog shit, egg property and so much more .... Did you know it's not a
      crime at all lol. Do not want you shocked at the laws as the next phase
      happens. Once put acid on a girls car with my exbestie melted that bitch to the
      group. right in a high school parking lot. You might know who it is but try to
      stop me. The wonderful thing is I know the laws. I can move around like
      always. You are not very smart. I sat in front of a judge with a smile on my
      face. He looked and said you are very bad. I just laughed. You picked the
      wrong path here. I feel for you but don't say I didn't warn you. You had the
      chance to do the right thing and decided not to. Oh I act in the middle of the
      day as well. If you don't know this then you don't know enough about me. I
      might have sat back to see how you would proceed and to give you a chance
      to get your shit together. I think it has been long enough. You know if you
      tread on the outskirts of different county lines that they can't line the case
      together. There are so many tricks that you can't even begin to think you know
      abou5 [sic]. I just feel for you. I know you sit there ready this wondering what
      to do. You know nothing can be done. It sucks for sure. It is ok. I will be
      around. Bye for now."

      November 13, 2017

      "girlfatashell": Three photos outside victim Victim-S's place of employment.

      STEFFEN's Admissions

      18.    On or about June 18, 2018, FBI-Tampa executed a search warrant at

STEFFEN's residence in Pasco County. At the time of the search warrant, agents

conducted a consensual interview with STEFFEN. She admitted that she was former

business partners with Victim-4 at a gym located in Tampa, Florida, and that she had

personal and professional relationships with Victims-I, 2, 3, and 5. STEFFEN told




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agents that she had created a number of fake Instagram accounts, posing as Victim-4,

and used those accounts to send disturbing messages to Victims-I, 2, 3, and 5.

      19.       STEFFEN further admitted that she used websites to "spoof' her phone

number and make harassing and threatening phone calls to former clients/associates

ofVictim-4's gym. During the interview, agents provided STEFFEN with a copy of

her internet browsing history from her Pinellas County School account. STEFFEN

confirmed that she had used her computer4 to visit the following websites:

iptracker.org; legalfakes.com; howtohackanigaccount.com; syphustraining.com;

mastersofrevenge.com; and MayoClinic.org, where STEFFEN viewed a webpage

containing an article titled, "Narcissistic Personality Disorder." STEFFEN also

reviewed copies of harassing emails and confirmed that she had them sent to Victim-

s from her "tammy.steffenl l@gamil.com," "tammy.steffenl 7@gmail.com," and
"beyondfit@yahoo.com" email accounts. Furthermore, STEFFEN admitted that she

had sent the following messages from fictitious Instagram accounts:

      "catloverexpress": " I plan to slice you up into little pieces. Your
                           blood shall I taste"

      "gncfitnessgroup":            "tick tock bitch tick tock.   11




      20.       As a result of STEFFEN's course of conduct, Victims-I, 2, 3, 4, and 5

viewed the messages as true threats and suffered substantial emotional distress.




      4
          The defendant is a former teacher for Pinellas County School District.
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                                   CONCLUSION

        21.   Based on the foregoing, there is probable cause to believe that

STEFFEN has committed violations of 18 U.S.C. § 2261A(2)(B) (Cyberstalking);

and 18 U.S.C. § 875(c) (Interstate Threats).




                                               Steven Thames, Special Agent
                                               Federal Bureau of Investigation

Subscribed to and sworn before me
this    I    day ofNovember, 2018



c~ IE S. -v
J        SNjJID
                ~oR_
    =     tates Magistrate Judge




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